Case 19-50498-jrs        Doc 19   Filed 02/07/19 Entered 02/07/19 08:07:31        Desc Main
                                  Document      Page 1 of 5




 IT IS ORDERED as set forth below:



 Date: February 6, 2019
                                                  _____________________________________
                                                              James R. Sacca
                                                        U.S. Bankruptcy Court Judge

 _______________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

  IN RE:                                      )      CHAPTER 13
                                              )
  JEFFREY KIM DOWDA,                          )      CASE NO: 19-50498-JRS
                                              )
  Debtor/Movant                               )

              FINAL CONSENT ORDER ON MOTION TO IMPOSE STAY

          This matter is before the Court on Debtor’s Motion to Impose the Automatic Stay

  pursuant to 11 U.S.C. § 362(c)(3)(A) filed on January 10, 2019 (the “Motion” Docket

  Number 8). The hearing on the Motion was scheduled for a hearing on January 29, 2019

  at 10:00 am and reset due to the court closing for February 5, 2019 at 10:00 am. The

  Court entered an Interim Order on the Motion on January 28, 2019 (Docket Number 17).

  After argument to the court, review of the record and upon consent of the undersigned

  parties it is hereby
Case 19-50498-jrs     Doc 19     Filed 02/07/19 Entered 02/07/19 08:07:31        Desc Main
                                 Document      Page 2 of 5




         ORDERED, that the stay of 11 U.S.C. § 362 shall be imposed as to all creditors,

  with the exception of Big South Capital, LLC and the matter pending in the Superior

  Court of Fulton County, State of Georgia, Civil Action File No. 2017CV291568 between

  Big South Capital, LLC v. J. Kim Dowda d/b/a Dowda House Movers which is hereby

  explicitly excepted from the stay, until further Order of the Court.

                                    END OF DOCUMENT

  Prepared by:

  _____/s/___________________
  Michael R. Rethinger
  Georgia Bar Number 301215
  Attorney for Debtor
  241 Mitchell Street, SW
  Atlanta, GA 30303
  michael@rethingerlaw.com


  Consented to by:

  _____/s/___________________
  Jackson E. Oliver
  Georgia Bar Number 273358
  Attorney for Big South Capital, LLC
  Stevens, Stevens & Oliver, LLC
  4167 Roswell Road
  Suite A, Floor 1
  Atlanta, GA 30342
  joliver@lawstevens.com

  No Opposition to by:

  _____/s/___________________
  Maria Joyner
  Georgia Bar Number 118350
  Attorney for Chapter 13 Trustee
  303 Peachtree Center Avenue
Case 19-50498-jrs    Doc 19    Filed 02/07/19 Entered 02/07/19 08:07:31   Desc Main
                               Document      Page 3 of 5


  Suite 120, Suntrust Garden Plaza
  Atlanta, GA 30303
  mjoyner@njwtrustee.com



                                   DISTRIBUTION LIST


  Big South Capital, LLC
  c/o Jackson E. Oliver
  Stevens, Stevens & Oliver, LLC
  4167 Roswell Road
  Suite A, Floor 1
  Atlanta, GA 30342

  Jeffrey Kim Dowda
  14880 Freemanville Road
  Alpharetta, GA 30004

  Nancy J. Whaley, Chapter 13 Trustee
  303 Peachtree Center Avenue
  Suite 120, Suntrust Garden Plaza
  Atlanta, GA 30303

  Michael R. Rethinger
  Law Offices of Michael R. Rethinger, LLC
  241 Mitchell Street, SW
  Atlanta, GA 30303

  All Creditors on Attached Matrix
Label Matrix for Case    19-50498-jrs
                  local noticing        Doc 19CLAYTON
                                                   Filed  02/07/19
                                                      COUNTY             Entered 02/07/19 08:07:31
                                                             TAX COMMISSIONER              Clayton CountyDesc   Main
                                                                                                          Superior Court Clerk
113E-1                                             Document
                                              121 S MCDONOUGH ST      Page    4 of 5       9151 Tara Boulevard
Case 19-50498-jrs                              ANNEX 3 2ND FLOOR                              Jonesboro, GA 30236-4912
Northern District of Georgia                   JONESBORO, GA 30236-3694
Atlanta
Wed Feb 6 13:59:51 EST 2019
Clayton County Tax Assessor                    Comcast                                        Credit Collection Serv
121 S. McDonough Street                        PO Box 530098                                  PO Box 607
Jonesboro, GA 30236-3651                       Atlanta, GA 30353-0098                         Norwood, MA 02062-0607



Credit Collection Service                      Department of Justice, Tax Division            Jeffrey Kim Dowda
PO Box 9134                                    Civil Trial Section, Southern Region           14880 Freemanville Road
Needham Heights, MA 02494-9134                 PO Box 14198, Ben Franklin Station             Alpharetta, GA 30004-6922
                                               Washington, DC 20044-4198


Enhanced Recovery Co L                         Fingherhut                                     Foster, Foster & Smith, LLC
8014 Bayberry Road                             PO Box 166                                     118 S Main Street
Jacksonville, FL 32256-7412                    Newark, NJ 07101-0166                          Jonesboro, GA 30236-3530



Frost Arnett                                   Georgia Auto Pawn                              (p)GEORGIA DEPARTMENT OF REVENUE
PO Box 198988                                  5238 Old National Highway                      COMPLIANCE DIVISION
Nashville, TN 37219-8988                       Atlanta, GA 30349-3202                         ARCS BANKRUPTCY
                                                                                              1800 CENTURY BLVD NE SUITE 9100
                                                                                              ATLANTA GA 30345-3202

Internal Revenue Service                       Internal Revenue Service                       Maria C. Joyner
Centralized Insolvency Operation               Insolvency Unit                                Nancy J. Whaley,
PO Box 7346                                    401 W. Peachtree Steet, NW, Stop 334-D         Standing Chapter 13 Trustee
Philadelphia, PA 19101-7346                    Atlanta, GA 30308                              Suite 120
                                                                                              303 Peachtree Center Avenue
                                                                                              Atlanta, GA 30303-1286
LVNV Funding, LLC                              LVNV Funding, LLC as assignee of North Star    Office of the Attorney General
Resurgent Capital Services                     c/o Resurgent Capital Services                 40 Capitol Sq SW
PO Box 10587                                   PO Box 10587                                   Atlanta, GA 30334-9057
Greenville, SC 29603-0587                      Greenville, SC 29603-0587


PYOD, LLC                                      PYOD, LLC as assignee of Arrow Financial Ser   Michael R. Rethinger
Resurgent Capital Services                     c/o Resurgent Capital Services                 Law Offices of Michael R. Rethinger, LLC
PO Box 19008                                   PO Box 19008                                   241 Mitchell Street, SW
Greenville, SC 29602-9008                      Greenville, SC 29602-9008                      Atlanta, GA 30303-3304


Revenue System                                 Storage Place                                  United States Attorney
2196 Main Street                               741 IIa Road                                   600 Richard B. Russell Federal Building
Suite J                                        Commerce, GA 30529                             75 Ted Turner Drive, SW
Dunedin, FL 34698-5694                                                                        Atlanta, GA 30303-3315


United States Attorney                         Nancy J. Whaley
Northern District of Georgia                   Nancy J. Whaley, Standing Ch. 13 Trustee
75 Ted Turner Drive SW, Suite 600              303 Peachtree Center Avenue
Atlanta GA 30303-3309                          Suite 120, Suntrust Garden Plaza
                                               Atlanta, GA 30303-1216
                Case 19-50498-jrs           Doc 19       Filed 02/07/19 Entered 02/07/19 08:07:31                      Desc Main
                                                         Document      Page 5 of 5
                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Georgia Department of Revenue                        (d)Georgia Department of Revenue                     End of Label Matrix
1800 Century Blvd                                    Bankruptcy Section                                   Mailable recipients   28
Suite 17200                                          PO Box 161108                                        Bypassed recipients    0
Atlanta, GA 30345                                    Atlanta, GA 30321                                    Total                 28
